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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION

                         CASE NO. 1:21-cv-23190-MORENO/TORRES

  CARLOS EDUARDO MARRÓN; JANE DOE;          )
  C.R., a minor; and S.A., a minor,         )
                                            )
        Plaintiffs/Judgment Creditors,      )
                                            )
        v.                                  )
                                            )
  NICOLAS MADURO MOROS;                     )
  FUERZAS ARMADAS REVOLUCIONARIAS           )
  DE COLOMBIA (“FARC”); THE CARTEL OF       )
  THE SUNS A.K.A. CARTEL DE LOS SOLES;      )
  VLADIMIR PADRINO LOPEZ; MAIKEL            )
  JOSE MORENO PEREZ; NESTOR LUIS            )
  REVEROL TORRES; TAREK WILLIAM             )
  SAAB; and TARECK EL AISSAMI,              )
                                            )
        Defendants/Judgment Debtors.        )
  _________________________________________ )


                  JPMORGAN CHASE BANK, N.A.’S NOTICE OF
             TURNOVER OF BLOCKED FUNDS TO ANTONIO CABALLERO
             UNDER § 201(a) OF THE TERRORISM RISK INSURANCE ACT

         JPMorgan Chase Bank, N.A. (“JPMorgan”) hereby responds to Plaintiffs’ “Notice

  Concerning Writ of Garnishment Directed at Bunge Latin America LLC (ECF No. 219)” (ECF

  No. 307) to advise the Court as follows:

         On April 3, 2025, JPMorgan transferred the funds in the blocked account at issue (the

  “Blocked Account”) to Antonio Caballero (“Caballero”) – another judgment creditor of the

  FARC – in his proceeding in the Southern District of New York entitled Caballero v. Fuerzas

  Armadas Revolucionarias de Colombia et al., Case No. 1:20-mc-00249-PAC (“Caballero”).

  JPMorgan made the transfer in accordance with the Caballero Court’s Order entered February

  12, 2025 (the “Turnover Order,” Caballero D.E. 135) granting Caballero’s motion for the
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  turnover of the Blocked Account under § 201(a) of the Terrorism Risk Insurance Act, and

  directing that the blocked funds be transferred to Caballero after the time to appeal the Turnover

  Order had expired. The Marron Plaintiffs were at all times on notice of the proceedings in

  Caballero regarding the Blocked Account and chose not to participate in them.

         The Blocked Account (with account number ending 036) had been established by

  JPMorgan, in the original amount of $6,700,833, in February 2017 following discussions with

  non-party Bunge Latin America LLC. The Blocked Account was blocked under 31 C.F.R § 598,

  the Foreign Narcotics Kingpin Sanctions administered by the Office of Foreign Assets Control of

  the U.S. Treasury Department, and JPMorgan, as garnishee, had since then held the Blocked

  Account in New York up to the time of the turnover.

  Dated: April 11, 2025                                Respectfully submitted,

                                                       /s/ Mark A. Salky
                                                       Mark A. Salky
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                                                       and

                                                       /s/ Steven B. Feigenbaum
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                                                       Admitted Pro Hac Vice
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                                                       Co-Counsel for Non-Party JPMorgan Chase
                                                       Bank, N.A.




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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 11th day of April, 2025, the foregoing was filed and

  uploaded to the Court’s CM/ECF system, providing notice to all counsel of record.


                                          By: /s/ Mark A. Salky
                                           MARK A. SALKY




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